
47 So. 3d 406 (2010)
STATE of Louisiana
v.
Henrietta WILLIAMS.
No. 2009-KP-2832.
Supreme Court of Louisiana.
November 12, 2010.
PER CURIAM.
Writ granted; the ruling of the court of appeal ordering an evidentiary hearing on several issues raised in respondent's application for post-conviction relief is reversed and the district court's summary dismissal of the petition is reinstated. The district court did not abuse its discretion when it dismissed the application without an hearing, tacitly concluding that the "factual and legal issues c[ould] be resolved based upon the application and answer, and supporting documents, including relevant transcripts, depositions and other reliable documents submitted by either party or available to the court." La.C.Cr.P. art. 929(A); State ex rel. Tassin v. Whitley, 602 So. 2d 721, 722 (La.1992).
